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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

STARLINE MEDIA, INC. and
DAVID NDALAMBA,

                       Plaintiffs,

v.                                                       Case No: 6:20-cv-1210-Orl-31GJK

STAR STATUS GROUP, ELISHA
TRICE and JOMY STERLING,

                 Defendants.
___________________________________

                                     ENTRY OF DEFAULT

       Pursuant to Fed.R.Civ.P. 55(a), default is entered against the defendant ELISHA TRICE

in Orlando, Florida on the 16th day of November, 2020.



                                           ELIZABETH M. WARREN, CLERK


                                           s/RO, Deputy Clerk


Copies furnished to:

Counsel of Record
